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  5                        UNITED STATES DISTRICT COURT

  6          CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION

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  9    ANTONIO FERNANDO MELARA,                           Case No. EDCV 17-2275 JGB (SPx)
10                                          Petitioner,
11                  v.                                               JUDGMENT
12
13     ALEJANDRO MAYORKAS, Secretary of the
14     Department of Homeland Security, et al.,

15                                       Respondents.
16
17    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
18          Pursuant to the Findings of Fact and Conclusions of Law, the Court
19    GRANTS Petitioner’s motion for review of application for naturalization against
20    Respondents Alejandro Mayorkas, Secretary of the Department of Homeland
21    Security, et al. Judgment is entered as follows:
22
23    1.    Petitioner has met his burden of proving each element for naturalization by a
24          preponderance of the evidence.
25    2.    Respondents are ordered to schedule an oath ceremony and issue a
26          certificate of naturalization in Petitioner’s name.
27    3.    Petitioner is ordered to file a motion for attorneys’ fees to effectuate the
28          request made in his motion for review of application for naturalization.
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  1   4.    Any and all such other relief as is appropriate and necessary to affect the
  2         production of certificate of naturalization.
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  5    Dated: October 28, 2021
  6
                                                THE HONORABLE JESUS G. BERNAL
  7
                                                United States District Judge
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